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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF NEW YORK

   T.W.                                                 :
                                                        :
           Plaintiff,                                   :
                                                        :
                                v.                      :      Case No.: 1:16-cv-03029
                                                        :
   NEW YORK STATE BOARD                                 :
   OF LAW EXAMINERS, et al.                             :
                                                        :
           Defendants.                                  :
                                                        :

                                       NOTICE OF APPEAL

          Notice is given that Plaintiff T.W. appeals to the United States Court of Appeals for the

  Second Circuit from the District Court’s July 19, 2022 Memorandum & Order granting

  Defendants’ motion to dismiss [Doc. No. 113] and the District Court’s July 20, 2022 entry of

  judgment [Doc. No. 114] that was filed on July 21, 2022.



  Date: August 1, 2022                                 Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE

            The foregoing has been filed via CM/ECF with copies sent via CM/ECF to all counsel of

  record.


                                                      s/Michael Steven Stein
                                                      Michael Steven Stein
